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                                             IN THE UNITED STATES DISTRICT COURT
                                             FOR THE EASTERN DISTRICT OF VIRGINIA

       APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(E) AND LOCAL
                                        CRIMINAL RULE 57.4(E)
                     In Case Number 3:24-cv-00363                , Case Name Knights of Columbus, Council 694 v National Park Service, et al.

                    Party Represented by Applicant: Knights of Columbus, Council 694


To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                           PERSONAL STATEMENT

FULL NAME (no initials, please) Roger Lucian Byron
Bar Identification Number 24062643           State           Texas


Firm Name     First Liberty Institute


Firm Phone # 972/941-4444                          Direct Dial # 469/440-7599                                   FAX # 972/941-4457
E-Mail Address rbyron@firstliberty.org

Office Mailing Address         2001 W. Plano Parkway, Suite 1600, Plano, Texas 75075



Name(s) of federal district court(s) in which I have been admitted            See Attached List



I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am     am not      a full-time employee of the United States of America, and if so, request exemption from the admission fee.


                                                                                                   (Applicant’s Signature)

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant’s personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

                                                                                                                                       May 22, 2024
                                                        (Signature)                                                                   (Date)
                                                         John S. Moran                                                                 84236
                                                        (Typed or Printed Name)                                                       (VA Bar Number)
Court Use Only:

Clerk’s Fee Paid        or Exemption Granted

The motion for admission is GRANTED                or DENIED
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       (Judge’s Signature)                            (Date)
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                            Roger Byron
                          Court Admissions

        Court / Bar        Number             Admission date
        Texas State Bar    #24062643          5/2/08
        Kentucky State     #91937             10/25/07
        Bar
        SCOTUS             #308640            2/27/19

        WD of TX                              7/31/08
        ND of TX                              5/16/08
        ED of TX                              7/18/08
        SD of TX                              8/22/08
        D. of NE                              6/20/18
        WD of KY                              5/8/20
        ED of KY                              6/29/20
        WD of MI                              1/30/23
        D. of CO                              5/6/14
        4th Cir                               1/6/16
        5th Cir                               10/25/23
        6th Cir                               4/25/14
        11th Cir                              12/6/17
